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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO
------------------------------------------------------------------------x
 Ben Brown                                                                  Case No: ___________________
                                                  Plaintiff,
                                                                            COMPLAINT




          -v.-
 IQ Data International, Inc.

                                              Defendant.
------------------------------------------------------------------------x


        Plaintiff Ben Brown ("Plaintiff" or “Brown”) by and through his attorneys, RC Law

Group, PLLC as and for his Complaint against Defendant IQ Data International, Inc.

("Defendant" or “IQ Data International, Inc.”), respectfully sets forth, complains and alleges,

upon information and belief, the following:

                                      JURISDICTION AND VENUE

1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as 15 U.S.C.

    § 1692 et seq. and 28 U.S.C. § 2201.

2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

3. Plaintiff brings this action for damages arising from the Defendant's violation(s) of 15 U.S.C.

    § 1692 et seq., commonly known as the Fair Debt Collections Practices Act (“FDCPA”).

                                                   PARTIES

4. Plaintiff is a resident of the State of New Mexico, County of Bernalillo, residing at 206 12th

    Street SW, Albuquerque, NM 87102 .

5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6) and used in


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   the FDCPA, with an address at 1000 SE Everett Mall Way #400, Everett, WA 98208-0000.

                                 FACTUAL ALLEGATIONS

6. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

   fully stated herein with the same force and effect as if the same were set forth at length herein.

7. On information and belief, on a date better known to Defendant, Defendant began collection

   activities on an alleged consumer debt from the Plaintiff (“Alleged Debt”).

8. The Alleged Debt was incurred as a financial obligation that was primarily for personal, family

   or household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

9. The reporting of a debt to a credit reporting agency by a debt collector is a communication

   covered by the FDCPA.

10. Defendant reported the Alleged Debt on the Plaintiff’s credit report.

11. Plaintiff disputed the Alleged Debt directly with the Defendant with a dispute letter on August

   31, 2016.

12. Plaintiff examined his credit report again on November 22, 2016, and found that Defendant

   had re-reported the Alleged Debt on Plaintiff’s credit report in November of 2016. When

   Defendant re-reported the Alleged Debt after it had notice of Plaintiff’s dispute, it did not list

   the account as ''disputed by consumer'' despite being required to do so by the FDCPA.

13. As a result of Defendant's improper debt collection practices described above, Plaintiff has

   been damaged.

                                 FIRST CAUSE OF ACTION
                                  (Violations of the FDCPA)

14. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

   fully stated herein with the same force and effect as if the same were set forth at length herein.

15. Defendant's debt collection efforts attempted and/or directed towards Plaintiff violate various

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   provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e, 1692e(2), 1692e(8),

   1692e(10), and 1692f.

16. As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged and is

   entitled to damages in accordance with the FDCPA.



                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

       a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1);

       b)     For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);

       c)     For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

       d)     For any such other and further relief, as well as further costs, expenses and

       disbursements of this action as this Court may deem just and proper.




DATED, this 19th day of December, 2016

                                                           /s/Yaakov Saks
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